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INVOICE

Federal Police Monitor

San Juan, PR

THE & GROUP LLC.

Las Ramblas
71 Calle Montjuic
Guaynabo , PR 00969

PHONE: 7874731515 Theandgroup.net

INVOICE NUMBER: 12

invoice for Javier B Gonzalez Professional Services as Administrative Director

INVOICE DATE: SEPTEMBER 30, 2019

DATE PROJECT DESCRIPTION HOURS RATE AMOUNT
SEP-04-19 Administrative Finish tnvoices for the court, 1.50 $85.00 $127.50
Director
SEP-05-19 Administrative Invoices to the Court, Office Follow Up 2.25 $85.00 $191.25
Director
SEP-13-19 Administrative Inspection of FPM Office Space in Miramar 2.00 $85.00 $170.00
Director
SEP-17-19 Administrative Prepared Monitor Romero Motion of expenses, 1.50 $85.00 $127.50
Director present motion to the Court
SEP-20-19 Administrative Review of Methodology and Community Police 6.75 $85.00 $573.75
Director documents
SEP-23-19 Administrative Meeting with Team 8.00 $85.00 $680.00
Director
SEP-25-19 Administrative Methodology meeting at PRPD 8.00 $85.00 $680.00
Director
SEP-26-19 Administrative Methodology meeting at PRPD, Meeting with 10.00 $85.00 $850.00
Director staff and Status conference with Judge Gelpi.
SEP-27-19 Administrative 253 Meeting at McV. 2.00 $85.00 $170.00
Director
SEP-30-19 Administrative Communications with Monitor and review and 5.50 $85.00 $467.50
Director respond of emails during the month of
September. Prepare invoice motions for the
court.
SEP-30-19 Administrative 1 hereby certify that the amount billed in this 0.00 $85.00 $0.00
Director invoice is true and correct and respond to the
number of hours work in my capacity as
member of the Federal Monitor Team. | further
certify that | have not received any income
compensation or payment for services rendered
under a regular employment or contractual
relationship with the Commonwealth, or any of
its departments, municipalities or agencies
$4,037.50

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MESSAGE se et nm

Javier B Gonzalez, September 30, 2019

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